Case 1:19-cr-O0086-REB Document 203-1 Filed 02/17/22 USDC Colorado Page 1 of5

DISTRICT COURT, EL PASO COUNTY, STATE OF COLORADO

WARRANT NUMBER: FILED-DISTHICT & Gc ITY
SS eee COURTS-EL PASO Co 2

 

APPLICATION AND AFFIDAVIT FOR ARREST WARRANT DEC 06 2018
DRL in
The People of the State of Colorado, Plaintiff SR a Sennen ii

Vv.

CLARK, Brainard Raphael DOB: 03/11/1994; SSN: XXX-XX-XXXX; Black Male, 5' 6" tall, 125 Ibs, Black
Hair, Brown Eyes

 

The undersigned, a Peace Officer as defined in 16-2.5-101 Colorado Revised Statutes, as

| amended, being first duly sworn on oath, moves the Court to issue an Arrest Warrant for: Brainard

Raphael CLARK; DOB: 03/11/1994, as provided in Rule 4.2 of the Colorado Rules of Criminal
Procedure.

| AS GROUNDS THEREFORE, the undersigned applicant states that the facts submitted in support
of this request are set forth in the accompanying attachment designated as Attachment “A”, which is
attached hereto and made a part hereof, and that probable cause exists to believe that the
aforementioned person has committed the offense of §18-18-405, Unlawful Distribution, Manufacturing,
Dispensing or Sale of a Schedule II Controlled Substance; (Possession with intent to distribute); (More
than 225 grams) Class One Drug Felony (DF1); in violation of Colorado Revised Statutes 1973, as
amended within the County of El Paso and State of Colorado.

It is respectfully requested that bond on this Arrest Warrant be set in the amount of: $ %U,0V0_O¢’

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Applicant: E. JORBAN HENGST 3561
Colorado Springs Police Department
Position: Detective

Sworn and subscribed before me this = day of December, 2018.

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Judge
Case 1:19-cr-O0086-REB Document 203-1 Filed 02/17/22 USDC Colorado Page 2 of 5

Attachment ‘A’

The following Affidavit is submitted to the Court to document the probable cause in support of
a request for the issuance of an Arrest Warrant for CLARK, Brainard Raphael DOB:
03/11/1994 SSN: XXX-XX-XXXX.

This offense is fully documented in Colorado Springs Police Department Offense Report 18-
33545 detailing the offense(s) of:
§18-18-405, Unlawful Distribution, Manufacturing, Dispensing or Sale of a Schedule II
Controlled Substance; (Possession with intent to distribute); (More than 225
grams) Class One Drug Felony (DF 1)

With the victim(s) identified as:
1. State of Colorado

Your Affiant is Detective E. Jordan Hengst / 3561 of the Colorado Springs Police
Department. Your Affiant has served as a sworn police officer for the City of Colorado Springs
since March of 2008 and has over 15 years of law enforcement experience. Your Affiant is
currently assigned to the Investigations Division, Violent Crimes Section, Robbery Unit of the
Colorado Springs Police Department (CSPD).

Your Affiant has personal knowledge of the following facts contained within this Affidavit which

are fully documented in official CSPD case report # 18-33545, titled 18-4-301, Robbery, Class

Four Felony. Uniess otherwise noted, all addresses listed within this Affidavit are located within
the City of Colorado Springs / County of El Paso / State of Colorado.

On Wednesday 11/14/2018, at approximately 1249 hours, Detectives assigned to the CSPD
Robbery Unit and the Metro Fugitive Unit were investigating the whereabouts of Mr. Brainard
Clark DOB: 03/11/1994. Mr. Clark was wanted for his involvement in an ongoing series of
Bank robberies that had been occurring in the City of Colorado Springs since 09/10/2018.
Additionally, Mr. Clark was wanted on special offender charges and possession with intent to
distribute marijuana stemming from a search warrant executed at his residence on 09/10/2018.
The arrest warrants relating to these criminal offenses were signed on 11/06/2018 and
detectives had been attempting to locate Mr. Clark since that time.

Detectives identified a cell phone number for Mr. Clark through the review of jail calls placed
by other suspects arrested in connection to the Bank robberies. Detective E. Ingalsbe / 2051
secured a “Ping” warrant for this phone number to assist in locating Mr. Clark. Detectives
began receiving updates indicating Mr. Clark's phone was active and showing in the area of
1305 Rosemont Dr. Detectives responded to this location and observed Mr. Clark entering a
silver Nissan sedan with a temporary Colorado permit. Detectives followed Mr. Clark in this
vehicle to the address of 1533 Meadow Peak View.

Detectives previously identified the address of 1533 Meadow Peak View # 222 as belonging to
Mr. Clark's girlfriend. Mr. Clark’s girlfriend is Ms. Lanaya Eleazer DOB: 01/01/1999. During
the course of this investigation, detectives installed an electronic tracking device to a vehicle
Case 1:19-cr-O0086-REB Document 203-1 Filed 02/17/22 USDC Colorado Page 3 of 5

Attachment ‘A’
Page 2 of 4

driven by Ms. Eleazer and the residence was initially identified as a result of the electronic
tracking device. The vehicle was tracked to this location multiple times and a utilities check of
Ms. Eleazer’s name revealed she was the utilities holder for 1533 Meadow Peak View # 222.
Subsequent contact with the apartment complex confirmed the apartment was rented by Ms,
Eleazer.

When Mr. Clark arrived at the Meadow Peak address, Officers assigned to the CSPD Tactical
Enforcement Unit (TEU) attempted contact with Mr. Clark. Mr. Clark initially fled contact on

| foot. Mr. Clark ran up a flight of stairs but quickly gave up and was taken into custody.
Detectives knocked on the door of apartment # 222 and contacted Ms. Eleazer inside.
Throughout the investigation of this series of Bank robberies, detectives had only recovered a
small amount of money taken from the Banks. | prepared a search warrant for the address of
1533 Meadow Peak View # 222 to search for evidence relating to the Bank robberies. | also
requested the courts authorization to search the residence for narcotics, prescription drugs and

firearms, because multiple firearms and large amounts of narcotics had been located during

the execution of other search warrants related to this investigation.

| responded to the El Paso County Courthouse where | met with the Honorable Judge L.
Martin. | presented the search warrant for Judge Martin’s review and he signed the warrant
into effect at 1406 hours.

Robbery Unit detectives executed the search warrant at the address and discovered the
people who lived at the residence were Ms. Eleazer, Mr. Clark and their small child. This
residence is a small two bedroom apartment and Detectives located indicia in the name of Mr.
Clark and Ms, Eleazer, Jourdain Espinoza and Ms. Lata Espinoza Williams. Ms. Espinoza
Williams is the mother of Ms. Eleazer and Mr. Espinoza is believed to be a family member of
Ms. Eleazer’s. The master bedroom appeared to have female and male’s clothing and
appeared to be Ms. Eleazer and Mr. Clark’s room. The second bedroom was set up for their
small child. Based on the manner in which the bedrooms were arranged, and the fact Ms.
Eleazer is the documented tenant of the apartment, | believe, Mr. Clark and their small child
are the only people who live at the residence.

During the search, Detective A, Voltz / 3529 located a clear bag containing small clear
baggy’s full of prescription pills. This bag was found wrapped in clothing inside a box as if they
were intentionally concealed there. This box was found in the master bedroom of the
residence between the room and bathroom. These pills were packaged for distribution and no
prescription scripts or bottles were found in the apartment to suggest the pills were prescribed
to Ms. Eleazer or Mr. Clark. No prescriptions were found in the residence for Ms. Espinoza
Williams or Mr. Espinoza either.

Detectives also located a large amount of Fentanyl patches and cough syrup with codeine that
were not prescribed to any of the occupants of the residence. See photos below.
Case 1:19-cr-O0086-REB Document 203-1 Filed 02/17/22 USDC Colorado Page 4 of 5

Attachment ‘A’

Page 3 of 4

 

Several individually wrapped baggy's were found inside a clear bag containing a number of
separately wrapped pills.

One baggy containing approximately 638 Oxycodone Hydrochloride pills (97 grams).
One baggy containing approximately 56 Oxycontin pills (14.8 grams).

One baggy containing approximately 925 Acetaminophen Hydrocodone pills (407.3
grams),

One baggy containing approximately 90 Acetaminophen and Oxycodone pills (43
grams).

One baggy containing approximately 1,072 Hydromorphone & Hydrochloride pills (171.6
grams).

One baggy containing approximately 103 Acetaminophen & Oxycodone Hydrochloride
pills (48.6 grams).

One baggy containing approximately 90 assorted dosage Fentanyl patches (180
grams),

All of the aforementioned prescription pills along with the Fentanyl patches are classified as
schedule II controlled substances. Detectives also discovered 7 bottles of Promethazine
w/Codeine (Cough Syrup) in the residence. No prescriptions accompanied 5 of these bottles
and two of the bottles had a prescription attached in the name of Michael Marshall.
Promethazine w/Codeine is a schedule V controlled substance. See photo below.
Case 1:19-cr-O0086-REB Document 203-1 Filed 02/17/22 USDC Colorado Page 5 of5

Attachment ‘A’

Page 4 of 4

 

Based on the fact the apartment was rented by Ms. Eleazer, and the fact she and Mr. Clark are
in a relationship, | believe they are the only two people who stay at this residence, excluding
their small child. The amount of pills located coupled with where they were found and how they
were packaged is an indication of distribution. Additionally, no prescriptions were found in the
residence to provide a legitimate excuse for possessing the pills.

Based on this information, | respectfully request that probable cause be found that Ms. Eleazer
and CLARK, Brainard Raphael DOB: 03/11/1994 did within the City of Colorado Springs,
County of El Paso and State of Colorado, commit in violation of the Colorado Revised Statutes
1973 as amended, the offense(s) of §18-18-405, Unlawful Distribution, Manufacturing,
Dispensing or Sale of a Schedule II Controlled Substance (Possession with inte ito
distribute); (More than 225 grams) Class One Drug Felony (DF 1). ; f

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Applicant: ro HENGST 3561
Colorado Springs Police Department

Position: Detective

   

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Sworn and subscribed before me this day of December, 2018.

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